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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA

  THE STATE OF LOUISIANA,
  By and through its Attorney General, JEFF
  LANDRY, et al.,
                                     PLAINTIFFS,

  v.

  JOSEPH R. BIDEN, JR., in his official capacity
  as President of the United States; et al.,               CIVIL ACTION NO. 2:21-cv-778-TAD-KK
                                     DEFENDANTS.


                                  Motion for Summary Judgment

        The States of Louisiana, Alabama, Alaska, Arkansas, Georgia, Mississippi, Missouri, Montana,

 Nebraska, Oklahoma, Texas, Utah, and West Virginia (collectively “Plaintiff States”) respectfully

 move this Court for an order under Rule 65 of the Federal Rules of Civil Procedure granting summary

 judgment in their favor against the named Defendants in their official capacities. As explained in the

 Complaint and attached Memorandum, Defendants have acted beyond their statutory authority and

 violated the Outer Continental Shelf Lands Act, Mineral Leasing Act, and Administrative Procedure

 Act.

        This Motion is made on the grounds specified in this Motion, the Complaint, the

 accompanying Memorandum of Law, the exhibits attached to the Complaint and to this Motion, all

 matters of which this Court may take judicial notice, and on such other and further oral or

 documentary evidence as may be presented to the Court at or before the hearing on this Motion.

        For these reasons Plaintiff States request an Order:

        1. holding unlawful and setting aside the Pause;

        2. declaring Section 208 of Executive Order 14008 unlawful;
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         3. permanently enjoining the Executive Branch from implementing Section 208 of Executive

 Order 14008 or the Pause;

         4. compelling Defendants to hold lease sales in accordance with OCSLA and the MLA;

         5. granting all other relief to which Plaintiff States are entitled, including but not limited to

 attorneys’ fees and costs.




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                                            Respectfully submitted,

  Dated: April 29, 2022                      /s/ Elizabeth B. MurrillT

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